                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                               No. 5:22-cv-00068-BO

 YOLANDA IRVING, et al.,                         )
                                                 )
                    Plaintiffs,                  )
                                                 )
        v.                                       )    OMAR I. ABDULLAH’S NOTICE OF
                                                 )    FILING OF ADDITIONAL EXHIBIT
 THE CITY OF RALEIGH, et al.,                    )
                                                 )
                     Defendants.                 )
                                                 )

         Defendant Omar I. Abdullah (“Abdullah”), by counsel, hereby respectfully files this notice
of the filing of excerpts from the deposition transcripts of “J.I.” and “Z.G.” as Exhibit E to Omar
I. Abdullah’s Response in Opposition to Emancipate NC Inc’s Motion for Protective Order [D.E.
168]. Abdullah intended to append Exhibit E to its filing at D.E. 168 earlier today, but
inadvertently omitted it from the filing. Accordingly, it is hereby filed as a separate docket entry
at this time.
         Pursuant to Rule V(J) of this Honorable Court’s Electronic Case Filing Administrative
Policies and Procedures Manual, counsel will contact the Court’s case manager tomorrow seeking
direction as to whether they should file a corrected D.E. 168 with all exhibits appended thereto, as
was originally intended.
           Respectfully submitted, this the 1st day of February, 2023.

                                              /s/ Daniel E. Peterson
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                                              N.C. State Bar No. 27710
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this date, the foregoing Omar I. Abdullah’s
Notice of Filing of Additional Exhibit was electronically filed with the Clerk of Court using the
CM/ECF system, which will automatically send notification and serve same upon counsel of
record via the Court’s electronic case filing system.

       This the 1st day of February, 2023.



                                             /s/ Daniel E. Peterson
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